Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 1 of 47 PageID #: 1096




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

    STATE OF ARIZONA, et al.,

                                      PLAINTIFFS,

    v.

    MERRICK GARLAND, in his official
    capacity as Attorney General of the United
    States, et al.,                                 CIVIL ACTION NO. 6:22-cv-01130

                                    DEFENDANTS.


         CORRECTED MEMORANDUM IN SUPPORT OF MOTION TO POSTPONE THE EFFECTIVE DATE
             OF ASYLUM IFR OR, IN THE ALTERNATIVE, FOR A PRELIMINARY INJUNCTION
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 2 of 47 PageID #: 1097




                                                             TABLE OF CONTENTS
   TABLE OF AUTHORITIES ........................................................................................................................ iii
   INTRODUCTION ........................................................................................................................................... 1
   BACKGROUND .............................................................................................................................................. 2
          I.     The Comprehensive Immigration Scheme Established by Congress. ....................................... 2
                 A. Statutory Requirements for Aliens Claiming Asylum .......................................................... 2
                        1.      Affirmative and Defensive Asylum Claims ................................................................... 2
                        2.      Expedited Removal ........................................................................................................... 3
                        3.      Statutory Requirement For Full Removal Proceedings and Detention of
                                Aliens Claiming Asylum ................................................................................................... 3
                 B. Through the Homeland Security Act, Congress Divided Responsibility for
                    Asylum Claims Between DHS and DOJ ............................................................................... 4
                 C. The Secure Fence Act ............................................................................................................... 5
                 D. EOIR Statistics Show that AOs Have a High Failure Rate for Asylum
                    Determinations .......................................................................................................................... 6
          II. The Biden Administration’s Asylum IFR. ..................................................................................... 8
          III. Current Border Conditions ............................................................................................................10
   LEGAL STANDARD ....................................................................................................................................11
   ARGUMENT...................................................................................................................................................12
          I.     Plaintiff States Have Standing To Challenge The Asylum IFR. ...............................................12
          II. Plaintiff States Are Likely to Succeed on the Merits of their Claims. ......................................19
                 A. The Asylum IFR Is Beyond the Executive’s Statutory Authority. ...................................19
                        1.      Adjudication .....................................................................................................................19
                        2.      Parole ................................................................................................................................23
                        3.      Secure Fence Act .............................................................................................................26
                 B. The Asylum IFR Is Arbitrary and Capricious. ....................................................................26
                        1.      Asylum Procedures .........................................................................................................27
                        2.      Parole ................................................................................................................................32
                 C. The Asylum IFR Violates the APA’s Notice and Comment Requirements. .................34
                        1.      The IFR Is Not a Logical Outgrowth of the Proposed Rule ...................................34
          III. The Remaining Requirements For Equitable Relief Are Met Here. ........................................36
                 A. A. Without Relief from This Court, The States Will Suffer Irreparable Harm. .............36
                 B. The Balance Of Harms And Public Interest Favor Relief Here ......................................37
                 C. If This Court Enters A Preliminary Injunction, That Injunction Should Apply
                    Nationwide. ..............................................................................................................................38
   CONCLUSION ...............................................................................................................................................38


                                                                                    ii
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 3 of 47 PageID #: 1098




                                                        TABLE OF AUTHORITIES
   CASES
   Affinity Healthcare Servs., Inc. v. Sebelius,
     720 F. Supp. 2d 12 (D.D.C. 2010) ............................................................................................................11
   Am. Wild Horse Pres. Campaign v. Perdue,
    873 F.3d 914 (D.C. Cir. 2017) ...................................................................................................................29
   Arizona v. Biden,
     No. 21-CV-314, ECF No. 4-11 (S.D. Ohio Nov. 23, 2021) .................................................................33
   Arizona v. United States,
     567 U.S. 387 (2012) ........................................................................................................................ 27, 28, 36
   Biden v. Texas,
      No. 21-954, 2021 WL 6206109 (U.S. 2021) ............................................................................................13
   Biden v. Texas,
      No. 21-954, 2022 WL 340629 (U.S. 2022) ..............................................................................................13
   Biden v. Texas,
      No. 21-954, 2022 WL 815341 (U.S. 2022) ..............................................................................................13
   Chocolate Mfrs. Ass'n v. Block,
     755 F.2d 1098 (4th Cir. 1985) ....................................................................................................................35
   Christensen v. Harris Cnty.,
     529 U.S. 576 (2000) .....................................................................................................................................21
   City & Cnty. of San Francisco v. U.S. Citizenship & Immigr. Servs.,
      981 F.3d 742 (9th Cir. 2020) ......................................................................................................................36
   City of Waukesha v. EPA,
      320 F.3d 228 (D.C. Cir. 2003) ...................................................................................................................34
   Cruz-Miguel v. Holder,
     650 F.3d 189 (2d Cir. 2011) .......................................................................................................................23
   Dep’t of Com. v. New York,
     139 S. Ct. 2551 (2019).................................................................................................................................30
   DHS v. Regents of the Univ. of Cal.,
    140 S. Ct. 1891 (2020).................................................................................................................................28
   Dillmon v. Nat’l Transp. Safety Bd.,
     588 F.3d 1085 (D.C. Cir. 2009) .................................................................................................................30
   East Bay Sanctuary Covenant v. Biden,
     993 F.3d 640 (9th Cir. 2021) ......................................................................................................................37
   FCC v. Prometheus Radio Project,
     141 S. Ct. 1150 (2021).................................................................................................................................26
   HBO v. FCC,
    567 F.2d 9 (D.C. Cir. 1977) .......................................................................................................................34



                                                                                iii
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 4 of 47 PageID #: 1099



   International Union, United Mine Workers of Am. v. Mine Safety & Health Admin.,
      407 F.3d 1250 (D.C. Cir. 2005) .......................................................................................................... 34, 35
   Jennings v. Rodriguez,
      138 S. Ct. 830 (2018) ...................................................................................................................................21
   Kaufman v. Mukasey,
     524 F.3d 1334 (D.C. Cir. 2008) ................................................................................................................... 5
   M.M.V. v. Garland,
     1 F.4th 1100 (D.C. Cir. 2021) ...................................................................................................................... 3
   Massachusetts v. EPA,
    549 U.S. 497 (2007) .....................................................................................................................................12
   Nat’l Fed’n of Indep. Bus.,
     142 S. Ct. 661 (2022) ...................................................................................................................................20
   Northern Mariana Islands v. United States,
     686 F.Supp.2d 7 (D.D.C. 2009) ................................................................................................................37
   Opulent Life Church v. City of Holly Springs, Miss.,
     697 F.3d 279 (5th Cir. 2012) ......................................................................................................................11
   Plyler v. Doe,
      457 U.S. 202 (1982) .............................................................................................................................. 12, 16
   Texas Ass’n of Mfrs. v. U.S. Consumer Prod. Safety Comm’n,
     989 F.3d 368 (5th Cir. 2021) ............................................................................................................... 34, 35
   Texas v. Biden,
     10 F.4th 538 (5th Cir. 2021).......................................................................................................................27
   Texas v. Biden,
     142 S. Ct. 1098 (2022).................................................................................................................................13
   Texas v. Biden,
     20 F.4th 928 (5th Cir. 2021)....................................................................10, 13, 25, 26, 27, 28, 29, 34, 37
   Texas v. Biden,
     No. 2:21-cv-67, 2021 WL 3603341 (N.D. Tex. Aug. 13, 2021) ...........................................................11
   Texas v. EPA,
     829 F.3d 405 (5th Cir. 2016) ......................................................................................................................11
   Texas v. United States,
     136 S. Ct. 2271 (2016).................................................................................................................................37
   Texas v. United States,
     524 F. Supp. 3d 598 (S.D. Tex. 2021) ......................................................................................................38
   Texas v. United States,
     809 F.3d 134 (5th Cir. 2015) ............................................................................................................... 37, 38
   Tineo v. Ashcroft,
     350 F.3d 382 (3d Cir. 2003) ............................................................................................................ 4, 23, 24




                                                                                iv
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 5 of 47 PageID #: 1100



   Wages & White Lion Invs., LLC v. FDA,
    16 F.4th 1130 (5th Cir. 2021) ............................................................................................................. 26, 38
   Zadvydas v. Davis,
     533 U.S. 678 (2001) .....................................................................................................................................11
   STATUTES
   5 U.S.C. § 553 ...................................................................................................................................................34
   5 U.S.C. § 706 ...................................................................................................................................................26
   8 U.S.C. § 1103 ............................................................................................................................................ 5, 20
   8 U.S.C. § 1158 ................................................................................................................................................... 2
   8 U.S.C. § 1182 ............................................................................................................................................ 4, 24
   8 U.S.C. § 1225 ................................................................................................................... 4, 21, 22, 23, 24, 25
   8 U.S.C. § 1229a .......................................................................................................................................... 4, 21
   H.R. Rep. No. 104-469 (1996) .......................................................................................................................23
   Homeland Security Act, Pub. L. No. 107-296 (2002)............................................................. 4, 5, 8, 20, 22
   Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (“IIRIRA”), Pub. L.
       104–208, 110 Stat 3009, Div. C § 302 (1996) .................................................................. 3, 23, 24, 25, 29
   Secure Fence Act of 2006, Pub. L. No. 109–367, 120 Stat 2638 (2006)................................... 5, 6, 26, 29
   OTHER AUTHORITIES
   U.S. Dep’t of Justice, Office of Legal Counsel, Centralizing Border Control Policy Under the
     Supervision of the Attorney General, 26 Op. OLC 22 (2002) .......................................................................20
   REGULATIONS
   42 C.F.R. § 440.255..........................................................................................................................................15
   8 C.F.R. § 235.3 ........................................................................................................................................... 9, 33
   8 C.F.R. §§ 212.5(b) .................................................................................................................................... 9, 24
   86 Fed. Reg. 46,906 (Aug. 20, 2021) ............................................................................................8, 13, 19, 29
   87 Fed. Reg. 18,078 (Mar. 29, 2022) ....................................................... 8, 9, 10, 13, 19, 23, 27, 29, 33, 35




                                                                                    v
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 6 of 47 PageID #: 1101



                                            INTRODUCTION

           The Departments of Homeland Security and Justice have adopted an Interim Final Rule that

   turns Congress’s asylum-processing machinery into a jumble of surplus parts. In Congress’s statutory

   design, certain components of DOJ have the exclusive power to make final adjudications of the asylum

   applications of aliens claiming credible fear of persecution. And almost all aliens seeking asylum must

   be detained while their asylum claims are pending; parole is available rarely, under only exacting

   statutory standards.

           That, for some reason, isn’t good enough for President Biden’s DHS and DOJ. So, by an

   Interim Final Rule challenged here, they have purported to reassign the power to make final asylum

   determinations to certain DHS employees—agency actors with notorious track records of making

   flawed asylum findings. DHS and DOJ also have inverted Congress’s detention rules to make parole

   of asylum-seeking aliens, not detention, the default norm. This all happened in an IFR that broke in

   at least 23 ways from the agencies’ notice of proposed rulemaking, effectively depriving Plaintiff States

   and all other members of the public with any pre-effective date chance to comment on the IFR.

           This Court should preliminarily enjoin the IFR or delay its effective date (currently set for May

   31, 2022). The IFR facially violates no fewer than six statutory commands. It is arbitrary and capricious

   for more than a dozen reasons. And it violates the Administrative Procedure Act’s notice-and-

   comment requirement in at least two ways. The (no-doubt intended) result of these fatal legal flaws,

   individually and collectively, will be a ruined and broken federal asylum regime that will unleash a

   flood of new asylum claims and illegal border-crossers, compounding the current once-in-a-generation

   crisis at the Country’s southern border that already saddles Plaintiff States with untold economic, law-

   enforcement, criminal-justice-system, social-service, and public-health harms. If the separation of

   powers and the APA still mean anything, this has to stop—now. The Court should grant the Plaintiff

   States’ motion.

                                                      1
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 7 of 47 PageID #: 1102




                                               BACKGROUND
   I.      THE COMPREHENSIVE IMMIGRATION SCHEME ESTABLISHED BY CONGRESS.

           A.      Statutory Requirements for Aliens Claiming Asylum
           Unlike refugees, who are screened before coming to the United States and can be denied

   refugee status before they enter this country, aliens claiming asylum may do so after having entered

   illegally. See 8 U.S.C. § 1158(a)(1) (stating that “[a]ny alien who is physically present in the United States

   or who arrives in the United States (whether or not at a designated port of arrival …), irrespective of

   such alien’s status, may apply for asylum”). There are two ways that an alien may claim asylum.

                   1.       Affirmative and Defensive Asylum Claims

           The first is an “affirmative asylum” claim. This is available only to an alien already present in

   the United States and who has not been placed in removal proceedings. Ex. A, Declaration of James

   K. Rogers John (“Attorney Decl.”), Ex. 1. Aliens making such asylum applications appear “before a

   USCIS asylum officer [“AO”] for a non-adversarial interview.” Id.

           The second way to apply for asylum is a “defensive asylum” claim. This is made after the alien

   has been placed in removal proceedings, usually because the alien was (1) “apprehended in the United

   States or at a U.S. port of entry without proper legal documents or in violation of ... immigration

   status,” or (2) “apprehended by U.S. Customs and Border Protection (CBP) trying to enter the United

   States without proper documentation, [was] placed in the expedited removal process, and [was] found

   to have a credible fear of persecution or torture by an asylum officer.” Id. “Immigration judges hear

   defensive asylum cases in adversarial ... proceedings” where both the alien and the U.S. government

   are allowed to be represented by an attorney. Id.

           In Fiscal Year 2020, aliens filed 93,224 affirmative asylum applications and 189,838 defensive

   applications. Attorney Decl. Ex. 2. But as explained infra at Section II.D, only about half of all aliens


                                                         2
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 8 of 47 PageID #: 1103



   who pass DHS’s credible fear asylum screening (and are thus allowed to entered the United States)

   actually end up filing an asylum claim. Thus, a substantial majority of aliens who are processed by the

   asylum system encounter the system only with the possibility of a defensive application.

                   2.      Expedited Removal

           Aliens arriving at the border who make defensive asylum applications typically do so as part

   of the expedited removal process, which Congress created in 1996 when it adopted the Illegal

   Immigration Reform and Immigrant Responsibility Act of 1996 (“IIRIRA”). Pub. L. 104–208, 110

   Stat 3009, Div. C § 302 (1996). As the DC Circuit explained, IIRIRA:

           sets forth expedited procedures to remove certain inadmissible aliens arriving at the
           border. 8 U.S.C. § 1225(b)(1). Aliens subject to expedited removal may either claim a
           fear of persecution or seek to apply for asylum. Id. § 1225(b)(1)(A)(i). If an alien does
           either, an asylum officer must interview the alien and determine whether he has a
           “credible fear of persecution.” Id. § 1225(b)(1)(A)(ii), (B)(ii). If the asylum officer finds
           such a credible fear, the alien must receive a full removal proceeding before an
           immigration judge, subject to further review in the Board of Immigration Appeals and
           a court of appeals. Id. §§ 1225(b)(1)(B)(ii), 1229a; Grace v. Barr, 965 F.3d 883, 887–88
           (D.C. Cir. 2020). If the asylum officer finds no credible fear of persecution, the alien
           may seek review before an immigration judge. 8 U.S.C. § 1225(b)(1)(B)(iii)(III). If the
           judge then disagrees with the asylum officer, the alien is placed in full removal
           proceedings. See id. § 1225(b)(1)(B)(ii); 8 C.F.R. § 1208.30(g)(2)(iv)(B), (C). If the judge
           agrees with the asylum officer, the alien may be removed without further review. See 8
           U.S.C. § 1225(b)(1)(B)(iii)(I); 8 C.F.R. § 1208.30(g)(2)(iv)(A).

   M.M.V. v. Garland, 1 F.4th 1100, 1104–05 (D.C. Cir. 2021). For an alien placed in full removal

   proceedings to qualify for an actual grant of asylum, the alien must establish that he or she has a “well-

   founded fear of persecution on account of race, religion, nationality, membership in a particular social

   group, or political opinion.” 8 U.S.C. § 1101(a)(42); see also 8 U.S.C. § 1158(b)(1)(A) (stating that asylum

   may be granted only if alien “is a refugee within the meaning of section 1101(a)(42)(A)”).

                   3.      Statutory Requirement For Full Removal Proceedings and Detention
                           of Aliens Claiming Asylum

           The INA provides that “[u]nless otherwise specified in this chapter,” a removal “proceeding

   under [8 U.S.C. § 1229a] shall be the sole and exclusive procedure for determining whether an alien

                                                        3
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 9 of 47 PageID #: 1104



   may be admitted to the United States.” 8 U.S.C. § 1229a(a)(3). Section 1229 sets forth the system for

   full removal proceedings of aliens. Thus, aliens who have been found to have a credible fear of

   persecution under expedited removal are required by statute to proceed to full removal proceedings

   for full adjudication of their asylum claims.

           In all cases, Congress has required that such aliens “shall” be detained. Aliens who convince

   an asylum officer that the alien has a credible fear of persecution “shall be detained for further

   consideration of the application for asylum.” Id. § 1225(b)(1)(B)(ii). Aliens who have failed to convince

   an asylum officer of their credible fear who seek review before an immigration judge “shall be detained

   pending a final determination.” Id. § 1225(b)(1)(B)(iii)(IV). And for aliens who are “not clearly and

   beyond a doubt entitled to be admitted, the alien[s] shall be detained,” subject only to limited

   exceptions not applicable here (for crewmen and stowaways). Id. § 1225(b)(2)(A).

           Against this backdrop of mandatory detention, Congress created a limited exception in 8

   U.S.C. § 1182(d)(5)(A). That provision gives DHS the power to parole aliens into the United States,

   rather than detain them, but “only on a case-by-case basis for urgent humanitarian reasons or

   significant public benefit.” Id. When Congress amended Section 1225(b) in 1996, it created a “de facto

   mandatory detention regime.” Tineo v. Ashcroft, 350 F.3d 382, 398 (3d Cir. 2003). The combined effect

   of § 1225(b)’s mandatory detention rules and § 1182(d)(5)’s limits on parole is straightforward:

   “§ [1225](b)(2) requires the INS to detain aliens ‘not clearly and beyond a doubt entitled to be

   admitted’ and because of the limited grounds for parole in § [1182](d)(5)(A), in practice, these

   provisions often result in ... mandatory detention.” Id. at 387.

           B.      Through the Homeland Security Act, Congress Divided Responsibility for
                   Asylum Claims Between DHS and DOJ
           Before Congress passed the Homeland Security Act (“HSA”), Pub. L. No. 107-296 (2002),

   AOs’ main role in the asylum process was only to conduct the credible fear review of aliens’ asylum

   claims. 8 U.S.C. § 1225(b)(1)(B). Any aliens found to have a “credible fear” were placed into full
                                                   4
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 10 of 47 PageID #:
                                  1105


 removal proceedings. Thus, before the HSA, Immigration Judges (“IJs”) within the Executive Office

 for Immigration Review (“EOIR”) adjudicated most asylum claims, including asylum claims arising

 out of the credible fear process.

         When Congress created DHS by adopting the HSA, it stated explicitly that DOJ would

 continue to “have such authorities and functions under this chapter and all other laws relating to the

 immigration and naturalization of aliens as were exercised by the Executive Office for Immigration

 Review, or by the Attorney General with respect to the Executive Office for Immigration Review, on

 the day before the effective date.” 8 U.S.C. § 1103(g)(1); see Kaufman v. Mukasey, 524 F.3d 1334, 1338

 (D.C. Cir. 2008) (The “Homeland Security Act expressly provides that the Attorney General has

 authority over certain immigration functions specifically relating to immigration courts”).

         In 451(b) of the HSA enumerated specific functions that were transferred from INS to USCIS,

 empowering USCIS only to perform those “adjudications performed by the INS immediately before

 those authorities were transferred from DOJ to DHS.” Thus, the HSA conferred on AOs within

 USCIS only the authority to adjudicate those types of asylum claims that they adjudicated on the

 HSA’s effective date, March 1, 2003 and preserved EOIR’s authority over all other adjudications.

         C.      The Secure Fence Act
         In 2006, Congress passed the Secure Fence Act, which requires the Secretary of Homeland

 Security to “take all actions the Secretary determines necessary and appropriate to achieve and

 maintain operational control over the entire international land and maritime borders of the United

 States.” Secure Fence Act of 2006, Pub. L. No. 109–367, 120 Stat 2638 (2006) (codified as 8 U.S.C.

 § 1701 note). The bill specifically defines “operational control” to mean “the prevention of all unlawful

 entries into the United States, including entries by terrorists, other unlawful aliens, instruments of

 terrorism, narcotics, and other contraband.” Id. (emphasis added).



                                                    5
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 11 of 47 PageID #:
                                  1106


         The Secure Fence Act remains in force. It enjoyed bipartisan support in both houses of

 Congress, and passed in the Senate by a vote of 80 to 19 with then-Senator Biden voting “aye.”

 Attorney Decl. Ex. 3.

         D.      EOIR Statistics Show that AOs Have a High Failure Rate for Asylum
                 Determinations
         According to EOIR’s statistics aggregated for Fiscal Years 2008 through 2019, out of 100

 aliens who claim credible fear, DHS made positive determinations for 81 of them, thereby allowing

 those 81 to enter the United States. Of those 81, however, only 45 actually ended up filing an asylum

 claim before an IJ. And of those 45, only 14 were granted asylum by an IJ.Attorney Decl. Ex. 4. Thus,

 DHS AOs’ initial credible fear determinations were confirmed by IJs as satisfying the applicable

 requirement for obtaining asylum only 17.3% of the time. IJs are also called upon to make credible

 fear determinations, when aliens request such a review after a credible fear denial by an AO. IJs make

 positive credible fear determinations at a much lower rate than AOs, approving only 22% of the

 credible fear claims that they adjudicate. The following chart, which was created by EOIR, illustrates

 the practical operation of the existing system.




                                                   6
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 12 of 47 PageID #:
                                  1107




                                       7
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 13 of 47 PageID #:
                                  1108


 II.     THE BIDEN ADMINISTRATION’S ASYLUM IFR.

         On August 20, 2021, Defendants published a notice of proposed rulemaking (‘‘NPRM’’) for

 new regulations that would radically transform and weaken Congress’s procedures for adjudicating

 asylum claims of aliens. Procedures for Credible Fear Screening and Consideration of Asylum,

 Withholding of Removal, and CAT Protection Claims by Asylum Officers, 86 Fed. Reg. 46,906 (Aug.

 20, 2021). The NPRM generated substantial controversy, garnering 5,265 comments. See Attorney

 Decl. Ex. 5. Among those comments was one submitted by Louisiana Attorney General Jeff Landry

 and a coalition of 15 other states that includes most of the Plaintiffs to this action. Attorney Decl. Ex.

 6.

         On March 29, 2022, Defendants published an Interim Final Rule (the “Asylum IFR” or

 “Rule”), 87 Fed. Reg. 18,078 (Mar. 29, 2022), that purports to implement the NPRM and become

 effective without the submission of additional comments even though the Asylum IFR makes 23

 substantive changes to the NPRM, fundamentally altering it.

         The Asylum IFR would eliminate safeguards to our nation’s immigration system and

 contravene Congress’s statutory commands. The Asylum IFR would make it substantially easier for

 unauthorized economic migrants to enter the United States and obtain asylum through false claims.

 Most importantly, the Asylum IFR would directly violate the HSA by purporting to confer on AOs

 within DHS the authority to conduct final adjudication of asylum claims arising from the border—

 authority that Congress statutorily made exclusive to IJs within DOJ. 87 Fed. Reg. at 18,096. The

 Asylum IFR would also eliminate the adversarial nature of the adjudication of asylum claims arising

 from the border—it would continue to guarantee to aliens the right to be represented by counsel

 during asylum determinations, but would eliminate any equivalent representation for the interests of

 American citizens in preventing the granting of fraudulent and meritless asylum claims. Id.



                                                     8
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 14 of 47 PageID #:
                                  1109


         Additionally, the Asylum IFR would eliminate the requirement that aliens arriving at the

 border complete a full asylum application on paper. Id. at 18,085, 18,097, and 18,139. Instead, the

 Asylum IFR would treat an alien’s oral asylum claim as a complete asylum application. Id. In contrast,

 immigrants already inside the United States requesting asylum would still be required to submit a full

 asylum application on paper. Id. at 18,146.

         The Asylum IFR would also make it significantly easier for aliens with non-meritorious asylum

 claims to get work authorization. Specifically, the rule would for the first time treat a positive credible-

 fear finding as a properly filed asylum application that starts the clock for eligibility to apply for work

 authorization. Id. at 18,085, 18,090, 18,095, and 18,138-18,139. Because a large percentage of aliens

 who meet the credible fear bar never even apply for asylum, this change would make it significantly

 easier for aliens with non-meritorious asylum claims to get work authorization, and to obtain it sooner.

         Additionally, the Asylum IFR would amend 8 C.F.R. §§ 212.5(b) and 235.3(b) to expand

 significantly the parole of aliens into the U.S., by expanding eligibility from only those aliens in full

 removal proceedings under INA § 240 to those aliens subject to expedited removal. 87 Fed. Reg. at

 18,082 and 18,088. The Asylum IFR incorrectly claims that Defendants have the statutory authority

 to parole aliens “where, in light of available detention resources, and considered on a case-by-case

 basis, detention of any particular [alien] would limit the agency’s ability to detain other noncitizens

 whose release may pose a greater risk of flight or danger to the community.” 87 Fed. Reg. at 18,108.

         Current regulations strictly limit when aliens pending a credible fear interview or in expedited

 removal may be paroled, so that parole is permitted only when it “is required to meet a medical

 emergency or is necessary for a legitimate law enforcement objective.” 8 C.F.R. § 235.3(b)(2)(iii) and

 (b)(4)(ii). This limitation is consonant with Congress’s intent to strictly limit Defendants’ use of the

 parole power. The Asylum IFR claims that elimination of these constraints on the parole authority



                                                      9
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 15 of 47 PageID #:
                                  1110


 will allow DHS to process more families through expedited removal proceedings and “facilitat[e] their

 expeditious removal.” 87 Fed. Reg. at 18,109.

         The Fifth Circuit has already held that programmatic decision to parole aliens en masse into

 the United States is an unlawful violation of the INA’s requirement that grants of parole be granted

 on a strictly limited, case-by-case basis: “[d]eciding to parole aliens en masse is the opposite of [the]

 case-by-case decisionmaking” required by Section 1182(d)(5)(A). Texas v. Biden, 20 F.4th 928, 942 (5th

 Cir. 2021) (emphasis in original).

 III.    CURRENT BORDER CONDITIONS

         As explained in greater detail in the First Amended Complaint (“FAC”) (Doc. 14) (at ¶¶ 63-

 67), the Administration has lost operational control of the border and is facing historically

 unprecedented levels of illegal crossings. See also Appendix Table 1 (DHS Encounters).

         Record numbers of aliens have entered the United States unlawfully since January 20, 2021.

 DHS’s own statistics show the dramatic increases in the number of crossings into the United States.

 Indeed, current levels of illegal crossings are at their highest levels in at least two decades, and perhaps

 ever. Furthermore, DHS sources have indicated that “there have been more than 300,000 known

 ‘gotaways’—migrants who were not apprehended or turned themselves in and who got past agents—

 since fiscal year 2022 began on October 1st” through April 1. Attorney Decl. Ex. 7. If that rate merely

 continues, the total number of gotaways for the fiscal year will be more than 600,000. For comparison,

 “former Border Patrol Chief Rodney Scott said there had been approximately 400,000 gotaways in the

 entirety of FY 2021.” Id. Because the Asylum IFR makes it easier for aliens with non-meritorious

 asylum claims to be released in the United States, it will induce a significant increase of illegal

 immigration into the United States. Tens of thousands of these aliens will be released into the Plaintiff

 States in violation of federal statutes.



                                                     10
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 16 of 47 PageID #:
                                  1111


         Furthermore, Defendants have reduced their capacity to detain unauthorized aliens, even

 though the INA requires their detention. For example, at the same time Defendants claim that their

 detention facilities are at overcapacity, Defendants submitted a budget request to Congress that would

 decrease DHS’s alien detention capacity by 25%. Attorney Decl. Ex. 8. And Defendants have cancelled

 contracts with private detention facilities and have closed detention facilities. Id.; Attorney Decl. Ex.

 9.

         Courts have recognized that reducing the likelihood that an alien will be released into the

 United States reduces the number of aliens who attempt to enter the United States illegally. See, e.g.,

 Texas v. Biden, No. 2:21-cv-67, 2021 WL 3603341, at *6, *18–19 (N.D. Tex. Aug. 13, 2021); cf. Zadvydas

 v. Davis, 533 U.S. 678, 713 (2001) (Kennedy, J., dissenting). (“An alien ... has less incentive to cooperate

 or to facilitate expeditious removal when he has been released, even on a supervised basis, than does

 an alien held at an [ICE] detention facility.”) The Asylum IFR will thus predictably lead to greater

 numbers of attempted (and successful) crossings.

                                           LEGAL STANDARD
         To obtain a preliminary injunction, Plaintiff States “must show: (1) a substantial likelihood of

 success on the merits; (2) a substantial threat of irreparable harm if the injunction is not granted; (3)

 that the threatened injury outweighs any harm that the injunction might cause to the defendant; and

 (4) that the injunction will not disserve the public interest.” Opulent Life Church v. City of Holly Springs,

 Miss., 697 F.3d 279, 288 (5th Cir. 2012). Each factor weighs in Plaintiffs’ favor.

         And “[m]otions to stay agency action … are reviewed under the same standards used to

 evaluate requests for interim injunctive relief.” Affinity Healthcare Servs., Inc. v. Sebelius, 720 F. Supp. 2d

 12, 15 n.4 (D.D.C. 2010); accord Texas v. EPA, 829 F.3d 405, 435 (5th Cir. 2016) (granting stay of

 agency action under 5 U.S.C. § 705 and applying preliminary injunction factors).



                                                       11
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 17 of 47 PageID #:
                                  1112


                                             ARGUMENT
 I.      PLAINTIFF STATES HAVE STANDING TO CHALLENGE THE ASYLUM IFR.

         States are “entitled to special solicitude in” the “standing analysis” when they are suing to

 protect their “procedural right[s] and ... [their] quasi-sovereign interests.” Massachusetts v. EPA, 549

 U.S. 497, 520 (2007). And even if Plaintiffs were not entitled to special solicitude, here their harms are

 obvious. The Asylum IFR makes it easier for aliens lacking legitimate claims to asylum to gain entry

 into the United States, to get work authorization, and to improperly receive grants of asylum. FAC

 ¶¶ 2, 126-128, 172-176.

         Even worse, the Asylum IFR contravenes Congress’s express statutory commands and

 transfers the authority to grant asylum to AOs (who have an infamously lax track record). According

 to the federal government’s own statistics about approval rates during the credible fear stage, the

 historical grant rate for AOs is 81%, while the grant rate for IJs making reasonable fear evaluations is

 much lower—only 22% See supra. Section I.D

         No one can seriously question that the Asylum IFR will result in increased immigration into

 the United States. It has been recognized for decades that “lax enforcement of the laws barring entry

 into this country ... results in the creation of a substantial ‘shadow population’ of illegal migrants—

 numbering in the millions—within our borders.” Plyler v. Doe, 457 U.S. 202, 218 (1982). Additionally,

 the influx of unauthorized aliens crossing the border illegally to make asylum claims will stretch DHS

 resources and reduce the number of officers actually patrolling the border. This will make it easier for

 aliens not making asylum claims to cross illegally and to do so undetected. The number of so-called

 “gotaway” aliens who manage to cross the border and evade capture and detention is already at record

 levels. Attorney Decl. Ex. 7. The Asylum IFR will increase these levels even further.

         Such large increases in illegal immigration will cause the Plaintiff States harm, principally in

 the form of increased health care, education, law enforcement, and imprisonment costs. See, e.g., Texas

                                                    12
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 18 of 47 PageID #:
                                  1113


 v. Biden, 20 F.4th 928, 969 (5th Cir. 2021) cert. granted 142 S. Ct. 1098 (2022) (recognizing that “if the

 total number of in-State aliens increases, the States will spend more on healthcare”).

         Indeed, the Fifth Circuit confirmed that these sorts of large-scale immigration policies are

 “precisely the sort of large-scale polic[ies] that [are] amenable to challenge using large-scale statistics

 and figures, rather than highly specific individualized documents. And [the States’] standing is robustly

 supported by just such big-picture evidence.” Id. at 971. Even more tellingly, while DHS sought

 Supreme Court review of that decision, it made zero attempt to challenge that standing holding, either

 in its petition for certiorari or its merits brief. See Petition for Certiorari, Biden v. Texas, No. 21-954,

 2021 WL 6206109 (U.S. 2021); Brief for Petitioners, Biden v. Texas, No. 21-954, 2022 WL 815341 (U.S.

 2022); Reply Brief for the Petitioners, Biden v. Texas, No. 21-954, 2022 WL 340629 (U.S. 2022).

         As in Texas v. Biden, the government’s only conceivable standing defense here is that the

 Asylum IFR won’t “cause[] either an increase in entries or an increase in parolees.” Texas, 20 F.4th at

 969. But that would contradict the Administration’s own projections. The NPRM states that “the

 lowest number of credible fear cases received within the last five years was 79,842 in FY 2017, while

 the highest was 102,204 in FY 2019.” 86 Fed. Reg. at 46,933. Yet, the Asylum IFR’s projections

 implicitly acknowledge the likelihood that it will greatly increase the number of aliens claiming

 asylum—its projections assume three possible scenarios: annual asylum claims of 75,000, 150,000, or

 300,000. 87 Fed. Reg. at 18,207. Thus, the federal government itself anticipates that the Asylum IFR

 may lead to a tripling of annual asylum applicants. That conceded potential influx precludes any

 colorable standing defense.

         In addition, the States have submitted evidence showing that changes in federal immigration

 policy cause increased illegal immigration into their States and that illegal immigration causes increased

 costs to the States for law enforcement and social services. See Exhibits B-F.



                                                     13
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 19 of 47 PageID #:
                                  1114


         There is widespread agreement that the Asylum IFR will induce additional illegal immigration.

 Arizona’s recent experience helps to quantify just how staggering the impact of this will be. Cochise

 County, Arizona, operates “a sophisticated camera system that views remote areas of the border region

 across a large section of southern Arizona.” Ex. B, Declaration of Anthony R. Napolitano

 (“Napolitano Decl.”), Ex. 1 ¶ 4. That camera system shows that “only 27.6%” of “undocumented

 persons” crossing the southern border were apprehended by the Border Patrol from July 2020 to

 January 2021. Id. Thus, the percentage of gotaway aliens who are not apprehended by Border Patrol

 is 72.4%. Put differently, for every three migrants that the Border Patrol apprehends, another seven

 successfully enter the United States without being stopped.

         Defendants’ own estimates concede that the Asylum IFR could cause annual asylum claims to

 triple, 86 Fed. Reg. at 46,933; 87 Fed. Reg. at 18,207, and that increase will predictably lead to a similar,

 or even greater, increase in gotaways. Because the Border Patrol already has a staffing shortage of

 “more than 1,000 officers,” Attorney Decl. Ex. 15, it cannot triple its capacity in response to the

 Asylum IFR. Indeed, Defendants seem intent on ensuring that staffing does not increase to meet the

 increased demand that the Asylum IFR will create. The Asylum IFR’s budget and hiring projections

 assume without explanation that the actual number of annual asylum requests will decrease to 75,000

 from the recent historical range of about 80,000 to 100,000. E.g., 87 Fed. Reg. at 18,114 (“USCIS has

 estimated that it will need to hire approximately 800 new employees and spend approximately $180

 million to fully implement the proposed Asylum Merits interview and adjudication process to handle

 approximately 75,000 cases annually.”) And, even worse, the Asylum IFR would provide only for the

 hiring of additional Asylum Officers, but not for the hiring of additional Border Patrol officers to

 address the higher number of gotaways who will be induced to cross.

         Similarly, the Border Patrol reported 25 notable apprehensions of dangerous criminal aliens at

 the Arizona border in December 2021. Napolitano Decl. ¶¶ 10-11. The Cochise County data of an
                                                      14
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 20 of 47 PageID #:
                                  1115


 approximate three-to-one ratio of gotaways to apprehensions thus suggests that 75 criminal aliens

 whose apprehension would have been publicly worth noting managed to enter Arizona undetected in

 December 2021. Once again applying the federal government’s estimate that the number of illegal

 entries may triple, and the assumption that Border Patrol capacity will stay static (or increase only

 modestly), then the number of dangerous criminal aliens crossing the border into Arizona undetected

 could increase to 275 per month.

          Criminal aliens impose significant law enforcement costs on the State of Arizona and other

 Plaintiff States. A tripling of illegal crossings will lead to an even greater increase in gotaways, and will

 significantly increase law enforcement costs as a result of the Asylum IFR. See Napolitano Decl. ¶¶ 2-

 4. These costs include environmental damage due to those crossing illegally, as well as an increase in

 the law enforcement costs incident to combatting the illegal drug trade. See Napolitano Decl. ¶ 4.

 Additionally, some of those who cross illegally will commit crimes and impose incarceration and

 supervised release costs on Arizona. See Napolitano Decl. ¶¶ 6-7.

          Furthermore, decreased enforcement at the border leads also to increased drug trafficking.

 Law enforcement officials in Louisiana have “confiscated drugs suspected to have been moved from

 the border into Louisiana, including but not limited to marijuana, fentanyl, methamphetamine, and

 heroin. This criminal activity requires substantial law enforcement resources to apprehend, detain,

 prosecute, and incarcerate the individuals involved.” Ex. C, Declaration of Tommy Romero, “Romero

 Dec.,” ¶ 4. Law enforcement in Louisiana “is adversely affected by having to devote resources to

 respond to this criminal activity. Those resources are necessarily diverted from other public safety

 activities.” Id.

          Illegal immigration imposes significant costs on healthcare providers and on social services.

 Under federal law, the Plaintiff States are required to spend state monies on Emergency Medicaid for

 aliens not lawfully in the United States. See 42 C.F.R. § 440.255(c). The increased illegal immigration
                                                      15
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 21 of 47 PageID #:
                                  1116


 induced by the Asylum IFR will impose real and significant harm on Plaintiffs. For example, Yuma

 Regional Medical Center (“YRMC”) in Arizona was forced to provide $546,050 in unreimbursed

 medical care for unauthorized aliens during, for example, the first six months of 2019, when border

 crossings were lower than even their current level. Napolitano Dec. ¶ 4. Applying the Cochise County

 data about gotaways and Defendants’ prediction about a potential tripling suggests that YRMC’s

 unreimbursed medical care for unauthorized aliens would increase dramatically. Similarly, “Missouri

 expended $361,702 in emergency medical care costs for treatment of ineligible aliens during Fiscal

 Year 2020,” and Missouri had to spend $30,114.11 just on database inquiries to “verify unlawful

 individuals’ lawful immigration status.” Ex. D, Declaration of Maddie Green “Green Dec.”, ¶¶ 11-12.

 If the Asylum IFR causes an influx of three times the prior number of illegal aliens into Missouri, then

 these expenditures for Missouri could increase by approximately $1.2 million a year.

           Since 1982, the Supreme Court has mandated that States provide public education to school-

 age aliens not lawfully in the United States. Plyler, 457 U.S. at 230. A tripling of the number of illegal

 alien minors in Plaintiff States will significantly increase education costs the States must spend. For

 example, “Missouri spent an average of $10,654 per student in school year 2019-2020,” and in 2018

 “an estimated 3,000 illegal alien school-aged children were enrolled in Missouri schools.” Green Dec.,

 ¶¶ 8-9. This works out to approximately $32 million spent to educate illegal aliens in Missouri during

 the 2019-2020 school year. If the Asylum IFR causes an influx of three times the prior number of

 illegal alien children into Missouri, then the cost to Missouri could increase by an additional $96 million

 a year.

           Every Plaintiff State has a population of illegal immigrants residing therein, and will experience

 similar increases to healthcare and social service costs. Id., Ex. C (chart showing illegal alien population

 estimates for each state; see also FAC ¶¶ 72-129 (allegations about illegal alien populations in each



                                                      16
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 22 of 47 PageID #:
                                  1117


 Plaintiffs State and the related costs to each state). Compounded across all medical and social services

 in every Plaintiff State, the resulting costs of the Asylum IFR will be enormous.

         Furthermore, because the Asylum IFR amplifies Defendants’ lax border enforcement policies,

 it will also incentivize human trafficking for sexual exploitation. “Destination countries with weak

 border security and lax immigration policies in effect create an open door for traffickers to enter and

 do business. It creates more opportunity for them to make money and in turn motivates traffickers to

 recruit more victims from origin countries. Put simply, traffickers would not invest the time and

 resources to groom, recruit and transport large numbers of potential victims to the U.S. border if they

 had reason to believe a crossing would not be possible. There’s no money in that.… Russian mafia,

 Asian organized crime, and Mexican cartels smuggle people into the United States for the purpose of

 human trafficking. Much of this occurs across the U.S.-Mexico border…. Unaccompanied and

 undocumented minors who enter the United States via smugglers are extremely vulnerable to

 traffickers and other abusers. There is no one to file a missing child report, or issue an Amber Alert.

 There is no record that the child is even here in this country. No one even knows to look. In the eyes

 of a trafficker, children in these circumstances make ideal victims.” Ex. E, Declaration of Alison

 Philips, ¶¶ 7-8, 13. Such exploitation occurs in every Plaintiff State. See id. at 6 and ¶ 20.

         Cross-border human trafficking imposes significant costs on the States and their citizens in

 three ways. First, there are direct costs on the “states for things like law enforcement; and other

 criminal justice system resources, social service costs, [and] the public health system.” Id. ¶ 17. Second,

 human trafficking of aliens to provide unskilled labor “results in lost wages and tax revenue and puts

 downward pressure on wages in general, especially in unskilled labor pools. This further exacerbates

 the economic challenges for individuals working in those areas of the economy which often impacts

 increased demand for assistance with housing and food.” Id. ¶¶ 17, 33-37 And third, “[t]he money

 made through human trafficking by international organized criminal organizations operating in the
                                                     17
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 23 of 47 PageID #:
                                  1118


 United States further empowers these entities and contributes to an increase in crime in general.” Id.

 ¶ 17.

         Cross-border human trafficking affects not only border states such as Plaintiff Arizona, but

 all Plaintiff States. For example, “[f]or the three years 2017 through 2019, between 9% and 12% of

 calls made to the National Human Trafficking Hotline for the state of Missouri involved foreign

 nationals.” Id. ¶ 19. Cases of trafficked aliens are likely underreported because “[m]ost of these victims

 are very isolated and marginalized by physical, geographical, cultural and linguistic factors. They, like

 many human trafficking victims, do not self-identify as victims, do not know their rights, and do not

 know who or how to ask for help.” Id. These victims usually were able to “gain entry into the United

 States due to weaknesses in immigration policy.” Id. Human trafficking, including of minors for sexual

 purposes, has become so pervasive that local law enforcement agencies in Plaintiff States often lack

 the necessary resources to investigate cases that present horrifying circumstances. See, e.g., id. ¶¶ 23-33

 (detailing cases of lack of law enforcement resources to investigate (1) unaccompanied three year girl

 from Ecuador, possibly for sexual purposes; (2) pregnant 12-year-old girl from Honduras; (3) 11-year-

 old Central American illegal alien rape victim who had been photographed “wearing lingerie and had

 sent thousands of nude photos of herself to adult men on her phone”; (4) “50 Hispanic children

 between the ages of 10 and 16” being trafficking in the back of a “tractor trailer for over 20 hours,”

 where they “had been malnourished and beaten” and were abandoned when the semi-truck pulling

 the trailer broke down).

         And beyond the costs to the States and their citizens, the trafficking which will be facilitated

 by the Asylum IFR will do untold harm to the lives of the victims of such trafficking.

         Defendant DHS itself has acknowledged the immense harm caused by (intentionally) weak

 border enforcement. It specifically has acknowledged that both Arizona and Louisiana are “directly

 and concretely affected by changes ... that have the effect of easing, relaxing, or limiting immigration
                                                     18
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 24 of 47 PageID #:
                                  1119


 enforcement. Such changes can negatively impact [Arizona’s and Louisiana’s] law enforcement needs

 and budgets, as well as its other important health, safety, and pecuniary interests.” Napolitano Dec.,

 Ex. 7, Memorandum of Understanding Between DHS and the Arizona Attorney General (“DHS-

 Arizona MOU”) at 2; Ex. F, Declaration of Wilbur “Bill” Stiles (“Stiles Dec.”), Ex. A, Memorandum

 of Understanding Between DHS and the Louisiana Department of Justice (“DHS-Louisiana MOU”)

 at 2. DHS has also recognized that “rules, policies, procedures, and decisions that could result in

 significant increases to the number of people residing in a community” will “result in direct and

 concrete injuries to [Arizona and Louisiana], including increasing the rate of crime, consumption of

 public benefits and services, strain upon the healthcare system, and harm to the environment, as well

 as increased economic competition with the State of Arizona 's current residents for, among other

 things, employment, housing, goods and services.” DHS-Arizona MOU at 3; DHS-Louisiana MOU

 at 2-3.

           Given the multitude and magnitude of the harms that the Asylum IFR will have upon the

 Plaintiff States, those States readily satisfy the requirements for Article III standing.

 II.       PLAINTIFF STATES ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIMS.

           A.     The Asylum IFR Is Beyond the Executive’s Statutory Authority.

                  1.     Adjudication

           The Asylum IFR upends the careful statutory regime Congress established to adjudicate

 asylum claims. The IFR purports to empower asylum officers to issue final asylum decisions on the

 merits for aliens subject to expedited removal. 87 Fed. Reg. at 18,096. Before the IFR, HHS asylum

 officers had authority to issue only an initial positive credible-fear determination; once that happened,

 the alien would be detained for further consideration of his asylum application on the merits,

 § 1225(b)(1)(B)(i)-(ii), something that since 1997 has occurred through an adversarial removal

 proceeding before a DOJ EOIR immigration judge, see 87 Fed. Reg. at 18,090; 86 Fed. Reg. at 46,908.

                                                     19
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 25 of 47 PageID #:
                                  1120


 The IFR, however, cuts out the DOJ—it empowers the HHS asylum officer to issue a final asylum

 determination, which entitles the alien to asylum. The IFR thus transfers final authority to grant asylum

 from DOJ EOIR immigration judges to DHS asylum officers.

         This transfer of authority by regulation violates the Homeland Security Act of 2002’s plain

 text. The HSA states that DOJ retains the “authorities and functions ... relating to the immigration

 and naturalization of aliens as were exercised by the Executive Office for Immigration Review, or by

 the Attorney General with respect to the Executive Office for Immigration Review on the day before

 the effective date of the Immigration Reform, Accountability and Security Enhancement Act of 2002.”

 8 U.S.C. § 1103(g)(1). In other words, authority that EOIR exercised when the HSA entered in force

 (on March 1, 2003) remains with EOIR. Back then, EOIR had final authority to make the asylum

 determination. Therefore, the authority to make final asylum determinations remains with EOIR. And

 a regulation cannot change how Congress allocated authority in a statute. See, e.g., Nat’l Fed’n of Indep.

 Bus. (NFIB), 142 S. Ct. 661, 665 (2022) (“Administrative agencies are creatures of statute. They

 accordingly possess only the authority that Congress has provided.”); see also U.S. Dep’t of Justice,

 Office of Legal Counsel, Centralizing Border Control Policy Under the Supervision of the Attorney General, 26

 Op. OLC 22, 23 (2002) (“Congress may prescribe that a particular executive function may be

 performed only by a designated official within the Executive Branch....”).

         This regulatory transfer of authority also violates the HSA’s specific enumeration of USCIS’s

 authorities. The HSA empowers USCIS to perform only those “adjudications performed by the [INS]

 immediately before” those authorities were transferred from DOJ to DHS. 6 U.S.C. § 271(b). This

 provision reinforces the separation of authority set out in § 1103(g)(1)—DHS does not have authority

 over adjudications that EOIR performed on the HSA’s effective date. On that date, EOIR performed

 final asylum adjudications. Accordingly, by force of the HSA, Congress vested this power in EOIR

 alone, and it cannot be transferred except by another statute. See Christensen v. Harris Cnty., 529 U.S.
                                                      20
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 26 of 47 PageID #:
                                  1121


 576, 583 (2000) (“When a statute limits a thing to be done in a particular mode, it includes a negative

 of any other mode.”) (cleaned up).

         The William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008

 (TVPRA) further confirms Congress’s intentional separation of these authorities. In the TVPRA,

 Congress created a narrow exception allowing AOs to issue final decisions in asylum applications filed

 by unaccompanied alien children. 8 U.S.C. § 1225(b)(3)(C). This confirms two relevant facts:

 (1) Congress knows how to vest final authority for asylum adjudications in DHS when it wants to,

 and (2) Congress recognized that DHS does not have this authority over asylum claims generally, and

 thus Congress needed to act affirmatively to confer any such authority. DHS’s efforts to accomplish

 the same result for expedited removal through regulation contradicts Congress’s choice that only

 unaccompanied minors should receive a specific carve out from the EOIR process. Because “[t]he

 expression of one thing implies the exclusion of others,” Jennings v. Rodriguez, 138 S. Ct. 830, 844 (2018),

 Congress’s vesting of limited final DHS asylum-officer authority over one class of alien is further

 evidence that it withheld such authority from DHS over aliens generally, and thus particularly over

 aliens subject to expedited removal.

         Finally, if any doubt remained that EOIR must have the final say over whether an alien who

 receives a credible fear determination is to be granted asylum, the INA itself dispels it. The INA

 requires that a “proceeding under [8 U.S.C. § 1229a] shall be the sole and exclusive procedure for

 determining whether an alien may be admitted to the United States.” 8 U.S.C. § 1229a(a)(3) (emphasis

 added). Only an immigration judge may conduct a proceeding under § 1229a. See 8 U.S.C.

 § 1229a(a)(1) (“[a]n immigration judge shall conduct proceedings” under § 1229a)). Defendants

 cannot ignore the INA’s plain text and create a system for making final asylum determinations that

 facially conflicts with at least four statutory provisions.



                                                      21
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 27 of 47 PageID #:
                                  1122


         That makes this a straightforward case: Congress said that DOJ’s EOIR retains the

 immigration functions it performed when the HSA was enacted. EOIR, not DHS, exercised the final

 authority on credible-fear determinations. Thus, EOIR—not DHS—must continue to perform that

 function until Congress says otherwise.

         What is DHS’s response? Crickets. Instead of grappling with the HSA head-on, DHS locates

 its purported authority in the INA’s provision stating that an alien “shall be detained for further

 consideration of the application for asylum” upon a credible-fear determination. § 1225(b)(1)(B)(ii).

 From the term “further consideration,” DHS purports to derive unlimited authority to restructure the

 entire asylum process. And then, knowing the sandy foundation upon which this interpretation rests,

 it begs for Chevron deference.

         Defendants’ analysis of the term “further consideration” would sunder it from the statutory

 framework and authorize them to override the remainder of the INA—including § 1229a, which

 mandates that immigration judges must make admissibility determinations; and the HSA, which

 mandates that EOIR must have final authority over whether to admit an alien who has received a

 positive credible-fear determination. When read together, the statutory regime is coherent and

 unambiguous: DHS asylum officers may make initial positive credible fear determinations, but an

 immigration judge of EOIR must conduct the “further consideration”—as they did when the HSA

 was enacted.

         The question is thus not the meaning of the term “further consideration,” but instead whether

 such “further consideration” was an “authorit[y]” or “function[]” “exercised by” EOIR when the HSA

 was enacted. Defendants do not dispute that EOIR exercised final review over positive credible-fear

 determinations when HSA was enacted. Accordingly, there is no ambiguity here—EOIR retains the

 final authority over whether to admit aliens who have received a positive credible-fear determination.

 Because the text is unambiguous, Defendants’ resort to Chevron cannot change the outcome.
                                                  22
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 28 of 47 PageID #:
                                  1123


                 2.      Parole

         The IFR’s parole provisions also contradict Congress’s comprehensive immigration and

 border-security laws. The IFR allows for parole upon the Executive’s determination that detention is

 “impracticable.” 87 Fed. Reg. at 18,108. Specifically, the IFR claims statutory authority to parole aliens

 “where, in light of available detention resources, and considered on a case-by-case basis, detention of

 any particular [alien] would limit the agency’s ability to detain other [aliens] whose release may pose a

 greater risk of flight or danger to the community.” Id. This contravenes the text, structure, and purpose

 of the immigration laws.

         The INA, as amended by IIRIRA, sets forth in exacting detail exactly what is to be done with

 aliens pending review. And it is not parole. Because of its “concern that parole under § 1182(d)(5)(A)

 was being used by the executive to circumvent congressionally established immigration policy,”

 Congress enacted IIRIRA, which “specifically narrowed the executive’s discretion ... to grant ‘parole

 into the United States.’” Cruz-Miguel v. Holder, 650 F.3d 189, 199 & n.15 (2d Cir. 2011). In fact, to

 counter executive overreach, Congress created a “de facto mandatory detention regime.” Tineo, 350

 F.3d at 382.1

         Specifically, Congress limited executive abuses of parole by commanding that aliens who

 receive a positive credible-fear determination “shall be detained for further consideration of the

 application for asylum.” 8 U.S.C. § 1225(b)(1)(B)(ii) (emphasis added). And aliens who receive a



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   To the extent relevant, the legislative history is clear that the parole provisions of IIRIRA were
 enacted to respond to (and prevent) exactly what Defendants are trying here:
   The text of section 212(d)(5) is clear that the parole authority was intended to be used on a case-by-
 case basis to meet specific needs, and not as a supplement to Congressionally-established immigration
 policy. In recent years, however, parole has been used increasingly to admit entire categories of aliens
 who do not qualify for admission under any other category in immigration law, with the intent that
 they will remain permanently in the United States. This contravenes the intent of section 212(d)(5),
 but also illustrates why further, specific limitations on the Attorney General’s discretion are necessary.
 H.R. Rep. No. 104-469, at 140 (1996).
                                                      23
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 29 of 47 PageID #:
                                  1124


 negative credible-fear determination “shall be detained pending a final determination.” Id.

 § 1225(b)(1)(B)(iii)(IV) (emphasis added). Similarly, aliens who are “not clearly and beyond a doubt

 entitled to be admitted ... shall be detained.” Id. § 1225(b)(2)(A) (emphasis added). Congress left only

 one narrow exception to this mandatory detention regime—DHS may parole aliens “only on a case-

 by-case basis for urgent humanitarian reasons or significant public benefit.” Id. § 1182(d)(5)(A). If

 more clues were needed, Congress entitled the IIRIRA amendment to the parole provisions,

 “LIMITATION ON USE OF PAROLE.” Pub. L. No. 104-208, 110 Stat. 3009, § 602. Taken

 together, these previsions “require[] the INS to detain aliens ‘not clearly and beyond a doubt entitled

 to be admitted’ and because of the limited grounds for parole in § [1182](d)(5)(A), in practice, these

 provisions often result in ... mandatory detention.” Tineo, 350 F.3d at 387.

         The IFR’s determination that parole is justified based on resource limitations runs headlong

 into the INA’s mandatory-detention regime and Fifth Circuit precedent. Although Defendants use

 the label “case by case,” in practice the parole provision is an en masse programmatic parole rule. The

 parole provision sets out a new rule of decision for the entire agency that allows them to parole aliens

 into the United States based on resource limitations. Unlike the individualized statutory factors,

 resource limitations are inherently general—if Alien A must be paroled due to resource limitations, so

 too must Alien B. And resource limitations focus on the agency’s general circumstances whereas the

 individualized statutory factors—“urgent humanitarian reasons” for the alien’s parole or “significant

 public benefit” resulting from the alien’s parole—focus on the individual circumstances of the aliens

 to be paroled. Further confirming its programmatic reach, the IFR amends 8 C.F.R. § 212.5(b) to

 greatly expand the aliens to whom its parole criteria apply; where it used to apply only to aliens in full

 removal proceedings under INA § 240, it now applies also to aliens subject to expedited removal. This

 vast expansion of 8 C.F.R. § 212.5(b) also constitutes an unlawful programmatic parole policy.



                                                    24
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 30 of 47 PageID #:
                                  1125


        Accordingly, the IFR’s parole provision also runs headlong into the Fifth Circuit’s holding

 that a programmatic parole provision violates § 1182(d)(5)(A): “Deciding to parole aliens en masse is

 the opposite of … case-by-case decisionmaking.” Texas, 20 F.4th at 942.2 Indeed, “the whole point of

 the ’case-by-case’ requirement that Congress added in IIRIRA” was to prevent DHS from “parol[ing]

 aliens en masse.” Id. at 997. Yet the new nonstatutory resource-limitation provision of the IFR allows

 precisely the type of programmatic parole that the INA expressly prohibits.

        Not only does the parole provision contravene the INA’s case-by-case requirement, it also lets

 nonstatutory regulatory considerations receive equal consideration as statutory factors. Rather than

 examining each case to determine if the alien should be admitted for “urgent humanitarian reasons or

 significant public benefit,” DHS can now parole based on the non-statutory factor of general

 “available detention resources.” Such resource-limitation concerns are not statutory grounds for

 parole. As the Fifth Circuit has held, the “[q]uintessential modern uses of the parole power include,

 for example, paroling aliens who do not qualify for an admission category but have an urgent need for

 medical care in the United States and paroling aliens who qualify for a visa but are waiting for it to

 become available.” Texas, 20 F.4th at 947. Making resource limitations a decisional factor differs in

 kind from looking at the statutory factors. The Asylum IFR thus does not “implement” section 1225,

 but rather contravenes it by converting all of its mandatory commands into readily (and frequently-

 to-be) ignored suggestions.

        Finally, Congress has specifically provided for an outlet for aliens who cannot be detained due

 to resource limitations—“the Attorney General may return the alien” to his country of origin pending

 his proceeding. 8 U.S.C. § 1225(b)(2)(C). Defendants cannot ignore Congress’s solution to the very

 problem DHS identified because they disagree with Congress’s policy choice. Congress has left DHS


 2
  The data eliminate any doubt about Defendants’ attempt to create en masse parole: there has been a
 300,000% increase in paroles in the Biden Administration. See Doc. 14 ¶ 146.
                                                25
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 31 of 47 PageID #:
                                  1126


 with one—and only one—tool to respond to resource limitations at the southern border: return aliens

 to Mexico. Because “[p]arole does not provide a way out of the box created by DHS’s can’ts-and-

 don’t-wants,” Texas, 20 F.4th at 996, Defendants’ resort to parole to cure resource limitations is

 contrary to law, cf. id. (Defendants simply “don’t want to do [the] one thing Congress allowed” as an

 alternative to detention).

                 3.       Secure Fence Act

         The Asylum IFR also independently violates the Secure Fence Act. The Act requires DHS to

 “take all actions the Secretary determines necessary and appropriate to achieve and maintain

 operational control over the entire international land and maritime borders of the United States.” Pub.

 L. No. 109–367, 120 Stat 2638 (2006) (codified as 8 U.S.C. § 1701 note). Congress defined

 “operational control” to mean “the prevention of all unlawful entries into the United States, including

 entries by terrorists, other unlawful aliens, instruments of terrorism, narcotics, and other contraband.”

 Id. The Asylum IFR violates both the text and the spirit of the Secure Fence Act. It does the opposite

 of preventing unlawful entries—it incentivizes them.

         B.      The Asylum IFR Is Arbitrary and Capricious.

         The APA commands courts to “hold unlawful and set aside agency action, findings, and

 conclusions found to be arbitrary, capricious, an abuse of discretion.” 5 U.S.C. § 706(2)(A). “The

 APA’s arbitrary-and-capricious standard requires that agency action be reasonable and reasonably

 explained.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). In the Fifth Circuit, “[t]his

 review ‘is not toothless.’” Texas, 20 F.4th at 989. Quite the contrary: “after Regents, it has serious bite.”

 Wages & White Lion Invs., LLC v. FDA, 16 F.4th 1130, 1136 (5th Cir. 2021). The Asylum IFR’s asylum-

 review procedures and parole provision are each arbitrary and capricious.




                                                      26
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 32 of 47 PageID #:
                                  1127


                 1.      Asylum Procedures

         The asylum procedure provisions are arbitrary and capricious for several independently

 sufficient reasons.

         First, Defendants utterly fail to consider State reliance interests. Indeed, Defendants rely

 explicitly on the same legal premise that the Fifth Circuit expressly rejected in Texas v. Biden—the

 notion that State reliance interests are nonexistent in the asylum context. Defendants declare that they

 “perceive no serious reliance interests on the part of any State, county, or local governmental entity in

 the currently existing provisions.” 87 Fed. Reg. at 18,109. And Defendants simply declare—without

 any support—that “[e]ven if such reliance interests exist, the Departments would nevertheless

 promulgate this regulation for the reasons stated in this rule.” Id.

         The Fifth Circuit rebuffed this precise reasoning as “astonishing[]” in the MPP asylum case.

 As the court there observed, States have overwhelming reliance interests in how the federal

 government executes its immigration laws: “Given the Supreme Court’s explanation that border states

 ‘bear[ ] many of the consequences of unlawful immigration,’ one would expect a ‘reasonable and

 reasonably explained’ memo to mention the issue at least once.” Texas, 20 F.4th at 989 (quoting

 Arizona v. United States, 567 U.S. 387, 397 (2012)). That is precisely the case here—Defendants fail to

 consider even once the States’ interests in preventing unlawful immigration. And their cursory one-

 sentence dismissal (without reasoning) comes nowhere close to meeting their obligation to reasonably

 explain why they think State interests are not relevant. See Texas v. Biden, 10 F.4th 538, 556 (5th Cir.

 2021) (“‘Stating that a factor was considered ... is not a substitute for considering it.’”). Defendants’

 analysis fails to account for the actual real-world effects of the current asylum system and how States

 might have legitimately relied on it.

         Even putting aside Defendants’ defiance of the Fifth Circuit’s holding, Plaintiff States have

 overwhelming reliance interests in federal enforcement of immigration law. See Arizona, 567 U.S. at
                                                    27
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 33 of 47 PageID #:
                                  1128


 398 (“The problems posed to the State by illegal immigration must not be underestimated.”).

 Specifically, Plaintiff States submitted a comment explaining that the Asylum IFR will incentivize

 additional illegal immigration and thus “affect[] State finances and resources, public safety, and public

 health during the midst of the COVID-19 global pandemic.” Attorney Decl. Ex. 6. Plaintiff States’

 budgets and resource allocations are determined in reliance on Defendants’ continued enforcement

 of immigration law. Defendants did not consider whether the States relied on the current asylum

 system continuing when Plaintiff States determined how they would marshal and distribute their

 resources to deal with the number of unauthorized aliens entering their states. The Asylum IFR utterly

 ignores these reliance interests. See DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913-14 (2020).

         Making matters worse, as in Texas v. Biden, Defendants fail to account for the reliance interests

 recognized by the January 2021 Agreements between DHS and Louisiana and Arizona. Docs. 2-1, 2-

 2. In those agreements, “DHS recognize[d] that” certain “actions result in direct and concrete injuries

 to” Arizona and Louisiana including the “relaxation of the standards for granting relief from return

 or removal, such as asylum.” DHS-Louisiana MOU at 1-2; DHS-Arizona MOU at 1-2. These

 Agreements “underscore[] the reliance interests at play—and DHS’s awareness of them.” 20 F.4th at

 989. On this point, the Fifth Circuit’s holding in Texas v. Biden is again controlling. In analyzing these

 same agreements, the court held that they “both demonstrate[] DHS’s prior knowledge of the States’

 reliance interests and affirmatively created reliance interests all [their] own.” Texas, 20 F.4th at 989-90.

 Accordingly, “DHS’s failure to consider those interests [is] arbitrary and capricious.” Id.

         Second, Defendants failed to estimate or account for the costs to Plaintiff States of the Asylum

 IFR, such as increased healthcare costs for aliens infected with COVID-19, the cost of increased illegal

 immigration that the Asylum IFR will prompt, and the presence of many more paroled aliens with

 non-meritorious asylum claims who were induced to enter the United States because of the Asylum

 IFR. This failure to estimate cost is particularly egregious because of the IFR’s infinitesimal claimed
                                                     28
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 34 of 47 PageID #:
                                  1129


 benefits. By DHS’s own calculations, the IFR will reduce the number of cases referred to the Executive

 Office of Immigration Review by only 11,250 to 45,000 cases a year, yet he pending EOIR caseload

 is approximately 1.3 million cases, which works out to a reduction of only between .8% and 3.5%.

         Third, Defendants failed to consider or arbitrarily rejected obvious alternatives to the Asylum

 IFR, such as hiring more Immigration Judges (“IJs”) or by implementing in good faith the Migrant

 Protection Protocols (“MPP”) (and thus sending most aliens from third countries back to Mexico to

 await asylum decisions). See 87 Fed. Reg. at 18,115 (acknowledging comments proposing the hiring of

 IJs and more effective implementation of MPP, but cursorily rejecting them without analysis).

 Agencies are required “to consider the alternatives that are within the ambit of the existing policy.”

 Texas, 20 F.4th at 992. Defendants’ “fail[ure] to consider any alternative within the ambit of the”

 current regime ... ‘alone renders [DHS’s] decision arbitrary and capricious.’” Id.

         Fourth, Defendants failed to consider important statutory factors and relied upon factors that

 Congress did not direct them to consider. IIRIRA and the Secure Fence Act elevate reducing border

 crossings above all other factors. See supra at Section II.A.2 and II.A.3. Yet the IFR utterly ignores

 these statutory goals.

         Fifth, Defendants failed to justify their deviation from prior practice. The APA prohibits

 Defendants from “whistl[ing] past [this] factual graveyard” to “evade[]” their “established pattern of

 agency conduct and formalized positions.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 923-

 27 (D.C. Cir. 2017). For decades, Defendants have recognized that EOIR properly has final decisional

 authority over asylum requests. See, e.g., 86 Fed. Reg. at 46,908 . Yet in switching that authority from

 EOIR’s immigration judges to mere asylum officers, Defendants fail to grapple with their prior actions

 and act as if their prior positions don’t exist. Because the APA requires that an agency’s “prior policies

 and standards are being deliberately changed” rather than “causally ignored,” Defendants’ failure to



                                                    29
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 35 of 47 PageID #:
                                  1130


 grapple with their longstanding polices is arbitrary and capricious. Dillmon v. Nat’l Transp. Safety Bd.,

 588 F.3d 1085, 1089 (D.C. Cir. 2009).

         Sixth, the Asylum IFR is arbitrary and capricious because its rationales are flagrantly pretextual.

 The actions of the President, Secretary Mayorkas, and other Administration officials have made clear

 that the intent of the Administration’s immigration policies is to incentivize illegal immigration. In

 2019, then-candidate Biden committed to free government-provided health care to illegal aliens in the

 United States. Attorney Decl. Ex. 10; Attorney Decl. Ex. 11.Error! Hyperlink reference not valid.

 Indeed, that the Administration’s immigration policies incentivize high amounts of illegal immigration

 is widely recognized internationally. For example, the President of Mexico called President Biden the

 “migrant president” and observed that the Biden Administration’s policies and rhetoric greatly

 incentivize illegal immigration. Attorney Decl. Ex. 12. Human traffickers have recognized this as well.

 Internal Mexican government assessments “state that gangs are diversifying methods of smuggling

 and winning clients as they eye U.S. measures that will ‘incentivize migration.’” Id. And there is

 evidence of a “significant mismatch” between the decision made and the rulemaking record. Dep’t of

 Com. v. New York, 139 S. Ct. 2551, 2575 (2019). Defendants ground their rationale for the IFR as

 promoting efficiency and reducing caseload, but the record demonstrates that the IFR would reduce

 EOIR’s caseload by as little as only 11,250 (leaving over a million backlogged cases still pending).

 Thus, the true rationale is clear: increasing illegal immigration. The presence of such blatant pretext

 suffices to render the Asylum IFR arbitrary and capricious. New York, 139 S. Ct. at 2575-76. Because

 accepting Defendants’ description of the Asylum IFR requires this Court to “‘exhibit a naiveté from

 which ordinary citizens are free,’” id., it should reject Defendants’ fabricated reasoning.

         Seventh, the Asylum IFR fails to account for the significant planning and additional funding

 required to implement it, and fails to justify these costs versus maintaining the status quo. For example,

 the Asylum IFR will require Defendants to redraft all training materials, retrain existing officers, and
                                                     30
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 36 of 47 PageID #:
                                  1131


 ultimately hire hundreds (if not thousands) of new AOs. This failure is particularly egregious because

 DHS only just recently narrowly escaped financial ruin in the midst of the COVID-19 pandemic.

         Eighth, the Asylum IFR fails fully to consider the effects of eliminating the adversarial nature

 of asylum proceedings and the salutary nature of adversarial proceedings for determining the true facts

 of a situation. This failure warrants special mention because the Asylum IFR would place asylum

 adjudications solely in the hands of AOs who have an established and documented track record of

 naïve credulity in the face of spurious asylum claims, which has led to their abysmal record at the

 credible-fear stage: asylum on that basis is rejected for more than 85% of the aliens they find to make

 the initial positive showing.

         Ninth, the Asylum IFR’s claimed justification of a backlogged immigration court system is

 pretextual, as only 17% of EOIR’s pending caseload is credible-fear referrals. And because about 45%

 of all aliens referred to EOIR for a credible-fear determination never actually bother to file an

 application, the proportion of “real” asylum cases before EOIR is even smaller. Attorney Decl. Ex.

 13. Furthermore, the Asylum IFR’s claimed justification makes little sense, as the USCIS case backlog

 within DHS is significantly worse than EOIR’s. See Attorney Decl. Ex. 14.

         Tenth, the Asylum IFR fails to account for the reality that the vast majority of asylum claims

 have no merit and that AOs have a terrible track record of correctly adjudicating aliens’ credible fear

 claims. Between FY2008 and the third quarter of 2021, the grant rate for asylum matters originating

 from credible fear referrals made by AOs was only 12.69%. Furthermore, in absentia removal-order

 rates for such cases are very high. This means that most aliens being placed into immigration court

 proceedings following a positive credible-fear determination by AOs are being ordered removed. The

 current system is rife with fraud and frivolous claims. Rather than hone the system to solve these

 problems, the Asylum IFR inexplicably relaxes requirements even further, thus making it even easier

 for aliens with meritless claims to gain improper entry into the United States.
                                                   31
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 37 of 47 PageID #:
                                  1132


         Eleventh, the Asylum IFR eliminates the requirement that aliens arriving at the border complete

 a full complete asylum application on paper. Instead, the Asylum IFR treats an alien’s oral asylum

 claim as a complete asylum application. In contrast, aliens already inside the United States who file an

 asylum application would still be required to submit a full asylum application on paper. This

 improperly provides more favorable treatment to aliens who cross the border illegally, and will also

 create significant administrative problems, as judicial review of such oral asylum applications will be

 nearly impossible in the absence of a clear record of the alien’s asylum claims.

         Twelfth, the Asylum IFR makes it significantly easier for aliens with non-meritorious asylum

 claims to get work authorization, and it fails to consider this change’s effect on illegal immigration

 rates, unemployment rates for citizens and authorized aliens, and wages. The Asylum IFR treats a

 positive credible-fear finding—which has little relation to whether an individual will ultimately qualify

 for asylum—as a properly filed asylum application that starts the clock for eligibility to file for work

 authorization. Because a large percentage of aliens who meet the credible-fear bar never even apply

 for asylum, this change makes it significantly easier for aliens with non-meritorious asylum claims to

 get work authorization, and to get it sooner. This change will greatly incentivize aliens who lack

 meritorious asylum claims to enter the United States and falsely claim asylum.

                 2.      Parole

         The Asylum IFR’s parole provisions are also arbitrary and capricious for several

 independently sufficient reasons.

         First, as noted, Defendants utterly neglect to consider State reliance interests on the previous

 regime and the harm to States in the en masse parole of aliens. The DHS MOUs with Arizona and

 Louisiana expressly recognize such reliance interests, but Defendants ignored them in the Asylum

 IFR.



                                                    32
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 38 of 47 PageID #:
                                  1133


        Second, Defendants have failed to analyze and consider how their own failure to maintain

 detention capacity affects the purported need to parole aliens into the United States. For example, at

 the same time Defendants claim that their detention facilities are over capacity, Defendants submitted

 a budget request to Congress that would decrease DHS’s alien detention capacity by 25%. Attorney

 Decl. Ex. 8. Defendants have degraded their own detention capacity by cancelling contracts with

 private detention facilities and by closing detention facilities. Id.; see also Attorney Decl. Ex. 9.

 Moreover, Defendants have refused to employ the capacity they do have. The DHS Inspector

 General, for example, has concluded in an April 12, 2022 report that DHS abused its authority in

 securing hotel space as detention capacity through no-bid contracts, and then allowed that dubiously

 obtained capacity to remain fallow. Attorney Decl. Ex. 16.

        Third, Defendants have failed to explain their deviation from prior practice. Specifically,

 current regulations strictly limit when the executive branch can parole aliens pending a credible-fear

 interview or in expedited removal, such that parole is permitted only when it “is required to meet a

 medical emergency or is necessary for a legitimate law enforcement objective.” 8 C.F.R.

 § 235.3(b)(2)(iii) and (b)(4)(ii). This limitation is consonant with Congress’s intent to strictly limit

 Defendants’ use of the parole power. See supra at Section II.A.2. Defendants claim that eliminating

 these constraints on the parole authority will allow them to process more families through expedited

 removal proceedings and “facilitat[e] their expeditious removal.” 87 Fed. Reg. at 18,109. But this

 justification is obviously pretextual, as Defendants have issued guidance strictly limiting removal of

 such aliens, and the number of removals under the Biden Administration has dropped precipitously.

 See, e.g., September 30, 2021 DHS Permanent Guidance Memo; Arizona v. Biden, No. 21-CV-314, ECF

 No. 4-11 at 12 (S.D. Ohio Nov. 23, 2021) (deposition testimony of Acting Phoenix ICE Director

 Albert Carter noting a “big dropoff in removals” beginning in February 2021). Because Defendants


                                                   33
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 39 of 47 PageID #:
                                  1134


 have once more “failed to reasonably consider [their] own factual findings regarding the benefits,”

 the Asylum IFR, like the MPP repeal, is arbitrary and capricious. See Texas, 20 F.4th at 990.

         C.      The Asylum IFR Violates the APA’s Notice and Comment Requirements.

                 1.      The IFR Is Not a Logical Outgrowth of the Proposed Rule

         With certain exceptions that Defendants do not try to invoke here, the APA requires

 rulemaking to be conducted through notice-and-comment procedures. See 5 U.S.C. § 553(b)-(c). A

 notice of proposed rulemaking thus must include “the terms or substance of the proposed rule or a

 description of the subjects and issues involved. Id. § 553(b). And the public must be given a chance to

 comment on the proposed rule, id., § 553(c), which the agency then must respond to, see, e.g., HBO v.

 FCC, 567 F.2d 9, 35-36 (D.C. Cir. 1977) (“[T]he opportunity to comment is meaningless unless the

 agency responds to significant points raised by the public.”).

         To evaluate whether the notice provided is sufficient, federal courts use the “logical

 outgrowth” test. Under that test, “[f]inal rules under APA notice-and-comment rulemaking must be

 the ‘logical outgrowth’ of the proposed rule. The objective is fair notice.” Texas Ass’n of Mfrs. v. U.S.

 Consumer Prod. Safety Comm’n, 989 F.3d 368, 381 (5th Cir. 2021) (citation omitted). “If interested parties

 ‘should have anticipated’ that the change was possible, and thus reasonably should have filed their

 comments on the subject during the notice-and-comment period, then the rule is deemed to constitute

 a logical outgrowth of the proposed rule.” Id. at 381-82 (citation omitted).

         A “final rule” that is “‘surprisingly distant’ from the proposed rule” fails the logical outgrowth

 test. International Union, United Mine Workers of Am. v. Mine Safety & Health Admin., 407 F.3d 1250, 1260

 (D.C. Cir. 2005) (quoting City of Waukesha v. EPA, 320 F.3d 228, 245 (D.C. Cir. 2003) (citation

 omitted)).“‘[I]f the final rule deviates too sharply from the proposal, affected parties will be deprived

 of notice and an opportunity to respond to the proposal,’” and the rule thus violates the APA. City of

 Waukesha, 320 F.3d at 245.

                                                    34
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 40 of 47 PageID #:
                                  1135


         Here, the Asylum IFR is “surprisingly distant” from the proposed rule and “deviates too

 sharply from the proposal” under any reasonable understanding of those terms. The Asylum IFR

 makes an astounding 23 substantive changes to the NPRM, fundamentally altering it. Merely skimming

 Defendants’ 3,100-plus-word summary of the 23 major changes they made from the proposed rule is

 sufficient to conclude that the deviations here wildly exceed the “deviates too sharply” standard. The

 end result is an IFR that is radically different from what was proposed to the public and on which the

 public submitted comments. This does not comport with 5 U.S.C. § 553.

         Highlighting the point, Defendants felt compelled to claim they “are in compliance with the

 APA’s notice-and-comment requirements with respect to these changes because each change is a logical

 outgrowth of the proposals set forth in the NPRM.” 87 Fed. Reg. at 18,195 (emphasis added). That

 suspiciously specific denial reads more like a confession than a defense of the Rule. Agencies that have

 properly complied with the APA typically have no need to offer such unintentionally self-aware

 statements; nor do they engage in a second round of purportedly unnecessary notice-and-comment

 rulemaking. In any event, even if all 23 major changes were individually logical outgrowths, the

 cumulative effect of all the changes renders the interim-final rule “surprisingly distant” and “deviat[ing]

 too sharply” from the proposal, thereby violating the APA.

         Any other outcome would undermine the logical outgrowth test’s purpose of ensuring “fair

 notice.” Texas Ass’n of Mfrs., 989 F.3d at 381. Again, the “‘essential inquiry’ … ‘is whether the

 commentators have had a fair opportunity to present their views on the contents of the final

 plan.’” Chocolate Mfrs. Ass’n v. Block, 755 F.2d 1098, 1104 (4th Cir. 1985) (citation omitted). No such

 “fair opportunity” was present here. The final rule deviates so profoundly from the proposed rule that

 no one could fairly have commented on anything that remotely looked like the former without having

 to “divine [DHS’s and DOJ’s] unspoken thoughts.” International Union, 407 F.3d at 1260. The APA

 prevents agencies from engaging in those kinds of tactics.
                                                     35
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 41 of 47 PageID #:
                                  1136


           2. The IFR Fails to Adequately Address Comments

           The Asylum IFR failed to take account of the States’ comment to the NPRM, either summarily

 rejecting them without substantive explanation, or outright ignoring them. For example, a coalition of

 16 states that includes most of the Plaintiffs submitted an 18-page comment that raised general

 concerns, as well as 10 specific comments about serious deficiencies in the proposed rule. See Attorney

 Decl. Ex. 6. Defendants ignored much of the States’ comment and, for the aspects of the comment

 that they purported to address, they summarily disposed of the States’ comment in a cursory,

 dismissive fashion that refused to offer any substantive legal or factual basis for dismissing the States’

 comment. For example, Defendants cursorily rejected the States’ NEPA and federalism concerns and

 failed to offer any substantive legal or factual justification for that rejection. 87 Fed. Reg. at 18,193-

 18,194. Instead Defendants merely claimed, without justification, that the Asylum IFR will not

 increase the asylum grant rate. Defendants’ failure to address the States’ comment is arbitrary and

 capricious.

 III.      THE REMAINING REQUIREMENTS FOR EQUITABLE RELIEF ARE MET HERE.

           A.      A.    Without Relief from This Court, The States Will Suffer Irreparable
                   Harm.

           Plaintiff States will suffer irreparable harm without a delay in the effective date of the IFR or

 if they are denied injunctive relief. As discussed, the Asylum IFR will impose costs on the States in

 the form of increased law enforcement, education, and health care spending. See supra Section I.

 Indeed, States bear the “heavy financial costs” of supporting an increased number of immigrants “on

 state and local programs” as a consequence of a federal agency rulemaking. City & Cnty. of San Francisco

 v. U.S. Citizenship & Immigr. Servs., 981 F.3d 742, 762 (9th Cir. 2020). The Supreme Court has similarly

 recognized that States “bear[] many of the consequences of unlawful immigration.” Arizona, 567 U.S.

 at 397.


                                                      36
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 42 of 47 PageID #:
                                  1137


         Due to sovereign immunity, the States cannot recover damages from the federal government.

 Their unrecoverable injuries thus constitute irreparable harm. See, e.g., Texas, 20 F.4th at 1001; East Bay

 Sanctuary Covenant v. Biden, 993 F.3d 640, 677 (9th Cir. 2021). That’s why, the Fifth Circuit has squarely

 recognized economic harms resulting from unlawful federal immigration policy to constitute

 irreparable harm. See Texas v. United States, 809 F.3d 134, 186 (5th Cir. 2015), aff’d by an equally divided

 Court, 136 S. Ct. 2271 (2016).

         Plaintiffs have also suffered irreparable procedural harm tied to their unrecoverable monetary

 damages, having been deprived of the opportunity to participate in notice-and-comment rulemaking

 on the Asylum IFR before it takes effect. East Bay, 993 F.3d at 677 (“Intangible injuries may also

 qualify as irreparable harm, because such injuries ‘generally lack an adequate legal remedy.’” (citation

 omitted)). The States suffer actionable harm when “depriv[ed] of a procedural protection to which

 [they] are entitled” under the APA, including the chance to shape the rules through notice and

 comment. Northern Mariana Islands v. United States, 686 F.Supp.2d 7, 17, 18 (D.D.C. 2009).

         B.      The Balance Of Harms And Public Interest Favor Relief Here

         The remaining Winter factors also support the States’ motion. As to the balance of harms, this

 case is unusual and the States’ arguments are uniquely strong. A delay in the IFR’s effective date, or

 alternatively, a preliminary injunction, will not only avoid harm to the States, but also prevent the

 Executive Branch from perpetrating the harm of violating laws that assign specific immigration

 authorities to specific Executive departments. Those harms to the federal government—as well as the

 harms to the States—can be completely averted by delaying the effective date or entering a preliminary

 injunction. This case is truly rare in that a delay in the effective date, or a preliminary injunction, will

 avoid harms to all sides. Here there is no balancing to be had, because all the harms are on one side of

 the scale.



                                                     37
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 43 of 47 PageID #:
                                  1138


         The public interest also favors the states: “The ‘public interest is in having governmental

 agencies abide by the federal laws that govern their existence and operations.’ And ‘there is generally

 no public interest in the perpetuation of unlawful agency action.’” Wages & White Lion Invs., 16 F.4th

 at 1143 (cleaned up). Because the Asylum IFR’s promulgation violates the APA multiple times over,

 the public interest favors enjoining it.

         C.      If This Court Enters A Preliminary Injunction, That Injunction Should Apply
                 Nationwide.

         This Court should enjoin implementation of the Asylum IFR nationwide, and not just in

 Plaintiff States. On this issue, “the Fifth Circuit’s precedent in this area is applicable and controlling.”

 Texas v. United States, 524 F. Supp. 3d 598, 667 (S.D. Tex. 2021). In the circumstances here, “a

 geographically-limited injunction would be ineffective” since once migrants crossed U.S. borders in

 other States they “would be free to move among states.” Texas v. United States, 809 F.3d at 188. This

 flouts the bedrock notion that “immigration policy” is supposed to be “a comprehensive

 and unified system.” Id. And because Plaintiffs include 20 states, an injunction limited to those states

 could create an unworkable patchwork.

         Given the magnitude of harms that will occur if the Asylum IFR is permitted to go into effect

 somewhere, it should not be permitted to go into effect anywhere.

                                             CONCLUSION

         For the foregoing reasons, this Court should grant Plaintiff States’ Motion for a Preliminary

 Injunction.




                                                     38
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 44 of 47 PageID #:
                                  1139


 Dated: May 13, 2022                        Respectfully submitted,
 Corrected: May 17, 2022                    By:/s/ Joseph S. St. John

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                                           39
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 45 of 47 PageID #:
                                  1140


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                                            40
Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 46 of 47 PageID #:
                                  1141


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Case 6:22-cv-01130-DCJ-CBW Document 22-1 Filed 05/16/22 Page 47 of 47 PageID #:
                                  1142




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  * Pro hac vice application forthcoming
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                                           42
